                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

 UNITED STATES OF AMERICA,             §
                                       §
                     Plaintiff,        §
                                       §
 v.                                    §        CASE NO. 7:18-CV-329
                                       §
 65.791 ACRES OF LAND, MORE OR         §
 LESS, SITUATE IN HIDALGO COUNTY, §
 STATE OF TEXAS; AND THE ROMAN         §
 CATHOLIC DIOCESE OF                   §
 BROWNSVILLE, TEXAS, ACTING BY         §
 AND THROUGH ITS BISHOP, THE           §
 MOST REVEREND DANIEL E. FLORES,       §
 AS BISHOP OF THE ROMAN CATHOLIC §
 DIOCESE OF BROWNSVILLE, AND FOR §
 HIS SUCCESSORS IN OFFICE, ET AL.,     §
                                       §
                    Defendants.        §
______________________________________________________________________________

           PLAINTIFF UNITED STATES OF AMERICA’S DISCLOSURE
                          OF INTERESTED PARTIES
______________________________________________________________________________

       NOW COMES, United States of America, by and through Ryan K. Patrick, United States

Attorney, and hereby certifies that the following persons or entities have a financial interest in the

outcome of this litigation:

   1. The Roman Catholic Diocese of Brownsville, Texas, Acting by and through its Bishop,

       The Most Reverend Daniel E. Flores, as Bishop of The Roman Catholic Diocese of

       Brownsville, and for His Successor in Office, in Brownsville, Texas, c/o Attorney David

       C. Garza, identified as an interested party in Schedule G of the Complaint;

   2. United States of America, Plaintiff.




                                              Page 1 of 3
                                  Disclosure of Interested Parties
                    Respectfully submitted,

                    RYAN K. PATRICK
                    United States Attorney
                    Southern District of Texas

            By:     s/ John A. Smith, III_________________
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           Page 2 of 3
Disclosure of Interested Parties
                                CERTIFICATE OF SERVICE

       I, John A. Smith, III, Assistant United States Attorney, hereby certify that on November

23, 2018, I served the foregoing using the Court’s ECF notification system on all parties receiving

ECF notice in this case.



                                      By:    s/ John A. Smith, III_________________
                                             JOHN A. SMITH, III
                                             Assistant United States Attorney




                                            Page 3 of 3
                                 Disclosure of Interested Parties
